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                                  NOT FOR PUBLICATION


                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


    SMITH, et al.,
                                                               Civil Action No.: 15-7629 (JLL)

                                      Plaintiffs,
                            V.                                              ORDER

    CITIMORTGAGE, INC.,

                                    Defendant.


          Presently before the Court is Defendant’s motion to dismiss Plaintiffs’ Complaint

  pursuant to Federal Rule of Civil Procedure 12(b)(6). For the reasons set forth in this

  Court’s corresponding Opinion,

          IT IS on this iL’day of December, 2015,

          ORDERED that Defendant’s motion to dismiss (ECF No. 6) is denied in part and

  granted in part. Plaintiffs’ claims for breach of the covenant of good faith and fair dealing

  and restitution are dismissed with prejudice. Plaintiffs’ claims for common law fraud,

  negligent misrepresentation, equitable fraud, promissory estoppel, and unjust enrichment

  are dismissed without prejudice; and it is further

          ORDERED that Plaintiffs may file an amended complaint that cures the deficiency

  identified in this Court’s Opinion by no later than January 25, 2016. If Plaintiffs fail to file

  an amended complaint by this date, the claims that are dismissed herein without prejudice

  will be dismissed with prejudice.




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        IT IS SO ORDERED.


                                           J9t3 L. LINARES
                                           p.S. DISTRICT JUDGE




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